 

AO 441 Summons in a Civil Action

 

 

United States District Court

SOUTHERN DISTRICT OF CALIFORNIA

Raul Uriarte-Limon

Civil Action No. 21cv1422-MMA-WVG
Plaintiff
V.
O'Reilly Automotive Stores, Inc., a Missouri

corporation; Does 1-10

 

Defendant

 

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days
if you are the United States or a United States agency, or an office or employee of the United States described
in Fed. R. Civ. P. 12(a)(2) or (3) - You must serve on the plaintiff an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the
plaintiff or plaintiff's attorney, whose name and address are:

Matt Valenti

P.O. Box 712533

San Diego, CA 92171-2533
619-540-2189

If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

 

Date: 8/9/21 John Morrill
CLERK OF COURT
S/ T. Hernandez

 

Signature of Clerk or Deputy Clerk

 
 

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Civil Action No. 21cv1422-MMA-WVG Date Issued: 8/9/21

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4(1))

This summons for (name of individual and title, if any)

 

was received by me on (date)

 

I personally served the summons on the individual at (place)

 

on (date) 5 or

 

I left the summons at the individual's residence or place of abode with (name)

 

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or

I served the summons on (name of the individual) , who is

 

designated by law to accept service of process on behalf of (name of organization)

 

 

on (date) ;or
I returned the summons unexecuted because Sor
Other (specify):
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

 

 

Server's Signature

 

Printed name and title

 

Server's address

 

NOTICE OF RIGHT TO CONSENT TO TRIAL BY A UNITED STATES MAGISTRATE JUDGE

IN ACCORDANCE WITH THE PROVISION OF 28 USC 636(C) YOU ARE HEREBY NOTIFIED THAT A USS.
MAGISTRATE JUDGE OF THIS DISTRICT MAY, UPON CONSENT OF ALL PARTIES, CONDUCT ANY OR
ALL PROCEEDINGS, INCLUDING A JURY OR NON-JURY TRIAL, AND ORDER THE ENTRY OF A FINAL
JUDGMENT.

YOU SHOULD BE AWARE THAT YOUR DECISION TO CONSENT OR NOT CONSENT IS ENTIRELY
VOLUNTARY AND SHOULD BE COMMUNICATED SOLELY TO THE CLERK OF COURT. ONLY IF ALL
PARTIES CONSENT WILL THE JUDGE OR MAGISTRATE JUDGE WHOM THE CASE HAS BEEN ASSIGNED
BE INFORMED OF YOUR DECISION.

JUDGMENTS OF THE U.S. MAGISTRATE JUDGES ARE APPEALABLE TO THE U.S. COURT OF APPEALS IN
ACCORDANCE WITH THIS STATUTE AND THE FEDERAL RULES OF APPELLATE PROCEDURE.

 

 

 
